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 1   JAMES R. GREINER, ESQ.
 2   CALIFORNIA STATE BAR NUMBER 123357
     LAW OFFICES OF JAMES R. GREINER
 3
     1024 IRON POINT ROAD
 4   FOLSOM, CALIFORNIA 95630
     TELEPHONE: (916) 357-6701
 5
     FAX: (916) 920-7951
 6   E mail: jaygreiner@midtown.net
 7
     ATTORNEY FOR DEFENDANT
 8   MATTHEW BOYLE
 9

10              IN THE UNITED STATES DISTRICT COURT FOR THE
11

12                        EASTERN DISTRICT OF CALIFORNIA
13

14
     UNITED STATES OF AMERICA, )                  CR-S-13-332--GEB
15                             )
16
         PLAINTIFF,            )             AGREEMENT AND STIPULATION
                               )             BETWEEN THE PARTIES
17                v.           )             REGARDING CONTINUING THE
18                             )             JUDGMENT AND SENTENCING
     MATTHEW BOYLE, et al.,    )             DATE TO FRIDAY,
19
                               )             JANUARY 22, 2016 AND
20                             )             [PROPOSED] ORDER
                               )
21
                  DEFENDANTS. )
22   __________________________)
23

24           Plaintiff       United     States       of   America,      by      and
25   through its counsel of record, Mr. Todd A. Pickles, and
26   defendant Tina Marie Bini by and through her counsel of
27   record, Ms. Candace A. Fry, and Matthew Boyle by and
28

     Agreement and Stipulation to Continue Judgment and Sentencing to Friday,

     January 22, 2016 as to both Defendants - 1
            Case 2:13-cr-00332-DAD Document 82 Filed 12/08/15 Page 2 of 4


 1
     through his counsel of record, Mr. James R. Greiner,
 2
     hereby agree and stipulate as follows:
 3

 4
                       1- By previous order (See Docket number
 5                     80) this matter was set for Judgment and
                       Sentencing on Friday, December 11, 2015,
 6
                       as to both defendants;
 7

 8
                       2- By this agreement and stipulation, both
                       the government and both the defendants now
 9                     move to continue the Judgment and
10                     Sentencing to Friday, January 22, 2016.
11
                       3- The United States joins in this
12                     request.
13
                       4. This gives the defense sufficient time
14                     to monitor whether Congress will pass any
15
                       legislation effecting the Advisory
                       Sentencing Guidelines. This will allow all
16                     parties to monitor Congress and then the
17                     government needs time to file documents
                       with the Court and the defense will need
18
                       more time once those documents are filed
19                     to review them, discuss them with their
                       respective clients and file, if needed,
20
                       any documents with the Court.
21

22
         The parties have given authority to James R.
     Greiner to sign on their behalf.
23

24        IT IS SO AGREED TO AND SO STIPULATED TO;
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     Agreement and Stipulation to Continue Judgment and Sentencing to Friday,

     January 22, 2016 as to both Defendants - 2
            Case 2:13-cr-00332-DAD Document 82 Filed 12/08/15 Page 3 of 4


 1   DATED: 12-4-15          BENJAMIN B. WAGNER
 2                           United States Attorney
 3

 4                           /s/ TODD A. PICKLES
                             _______________________
 5
                             TODD A. PICKLES
 6                           Assistant United States Attorney
 7
     DATED: 12-4-15
 8

 9                           /s/ CANDACE FRY
                             _________________________
10
                             CANDACE FRY, ESQ.
11                           Attorney for Defendant
                             Tina Bini
12

13   DATED: 12-4-15          /s/ James R. Greiner
14
                             _______________________________
15                           James R. Greiner
16                           Attorney for Defendant
                             Matthew Boyle
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     Agreement and Stipulation to Continue Judgment and Sentencing to Friday,

     January 22, 2016 as to both Defendants - 3
            Case 2:13-cr-00332-DAD Document 82 Filed 12/08/15 Page 4 of 4


 1                                      ORDER
 2
                       Since the parties agree to continue the
 3

 4   Judgment and Sentencing to January 22, 2016, commencing
 5
     at 9:00 a.m., Judgment and Sentencing is rescheduled as
 6

 7
     requested.      However, notwithstanding the parties’

 8   stipulated reasons for this rescheduling, those reasons
 9
     are not adopted as a basis for this rescheduling.
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11   Dated:     December 7, 2015
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     Agreement and Stipulation to Continue Judgment and Sentencing to Friday,

     January 22, 2016 as to both Defendants - 4
